                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )      Case No: 3:07-cr-00159
                                               )      Judge Crenshaw
JAMES C. MCWHORTER                             )


                              ORDER TO TURN OVER ASSETS


        The United States of America, with the consent of Defendant James C. McWhorter, seeks

the re-opening of the above-styled case to allow recently discovered assets to be turned over to the

Office of the United States Attorney, or their designee, for the purpose of selling the assets and

providing partial reimbursement to Stanley Lee and Avalyn Pitman up to the remaining amount of

restitution owed in the approximate amount of $41,201.59.

        Upon a review of the pleading, and for good cause shown:

IT IS HEREBY ORDERED that this case is reopened for the entry of a turn over ORDER;

IT IS FUTHER ORDERED that the White County Clerk and Master’s Office in Sparta,

Tennessee, or any other person in possession of the Rolex wrist watch and an Ice Tech wrist watch

(hereinafter collectively referred to as “Subject Property”) referred to in the case of McWhorter v.

Selby, 2009 WL 3754388 (Ct of Appeals No. M2008-01502-COA-R3-CV, Nov. 9, 2009) shall

release and turnover the Subject Property to the United States Attorney’s Office, or a representative

thereof;

IT IS FURTHER ORDERED that the Subject Property shall be appraised and sold (if not

counterfeit) and any profit from the sale will be used to partially satisfy defendant’s restitution up

to the amount of the remaining restitution owed in the approximate amount of $41,201.59.




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IT IS FURTHER ORDERED that if the Subject Property is counterfeit, the Government

should bring it to the attention of the Court.

SO ORDERED this ________         March
                  13th day of ____________________, 2017.




                                                 _______________________________
                                                 WAVERLY D. CRENSHAW, JR.
                                                 UNITED STATES DISTRICT JUDGE




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